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         < Details         Inventory Record                 PDF


         Part I: Location and Classification Information


          Primary Operating Railroad
          NOGC



          State
          LA



          County
          Jefferson



          City / Municipality
          GRETNA



          Street / Road Name
          DERBIGNY ST



          Block Number
          N/A


          Highway Type & No.
          ST



          Do Other Railroads Operate a Separate Track
          at Crossing?
          No



          Do Other Railroads Operate Over Your Track
          at Crossing?
          No



          Railroad Division or Region
          LAFAYETTE



          Railroad Subdivision or District
          WESTWEGO



          Branch or Line Name
          WESTWEIGO SUB



          RR Milepost (prej^^
          N/A
